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            UNITED STATES DISTRICT PANEL ON MULTIDISTRICT LITIGATION

IN RE OIL SPILL BY THE RIG “DEEPW ATER HORIZON”
IN THE GULF OF MEXICO ON APRIL 20, 2010                                    MDL No. 2179




                                 ORDER ON
   JOINT MOTION FOR PRO TANTO DISMISSAL W ITH PREJUDICE OF DEFENDANTS
 CROW DERGULF JOINT VENTURE, L.L.P, W ASTE MANAGEMENT NATIONAL SERVICES,
         INC., AND BALDW IN PORTABLE TOILETS AND SEPTIC TANKS, INC.




       This matter having come before the Court on the Joint Motion for Pro Tanto Dismissal W ith

Prejudice of Defendants CrowderGulf Joint Venture, L.L.P, W aste Management National Services,

Inc., and Baldwin Portable Toilets and Septic Tanks, Inc., it is hereby:

       ORDERED that said Motion is GRANTED.

       Dated:                          .




                                              UNITED STATES DISTRICT COURT JUDGE
